8:98-cr-00126-LES-FG3   Doc # 670   Filed: 08/06/08   Page 1 of 1 - Page ID # 576



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:98CR126
                              )
          v.                  )
                              )
DONALD WILLY,                 )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to release (Filing No. 668).        The Court finds the motion should

be granted.   Accordingly,

           IT IS ORDERED that said motion is granted; defendant

Donald Willy shall be released from custody on Thursday, August

7, 2008, at a time to be determined by the Probation Office, for

screening at Oxford House, 3562 Jones, Omaha, Nebraska.

           DATED this 6th day of August, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
